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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TEXAS
                                  AUSTIN DIVISION


 COMMODITY FUTURES
 TRADING COMMISSION,

        Plaintiff,                                       Case No: 1:20-CV-908-RP

 v.

 DAVID CARTU, JONATHAN CARTU,
 JOSHUA CARTU, RYAN MASTEN, LEEAV
 PERETZ, NATI PERETZ, ALL OUT
 MARKETING LIMITED, BAREIT MEDIA
 LLC D/B/A SIGNALPUSH, AND ORLANDO
 UNION, INC.,

        Defendants.


                                     [PROPOSED] ORDER

       Before the Court is Plaintiff Commodity Futures Trading Commission’s (“CFTC”)

Notice of Voluntary Dismissal (the “Notice”), in which it dismisses all claims against

Defendants David Cartu, Joshua Cartu, and Orlando Union, Inc. (ECF No. 90.) In its Notice,

the CFTC cites Federal Rule of Civil Procedure 41(a)(1)(A)(i), which allows a plaintiff to

voluntarily dismiss an action without a court order by filing a notice of dismissal before the

opposing party serves an answer or a motion for summary judgment. (Id. at 1.) Though Rule 41

speaks of dismissing an “action,” the Fifth Circuit has interpreted it to allow plaintiffs to dismiss

all of their claims against individual opposing parties. See Oswalt v. Scripto, Inc., 616 F.2d 191,

194–95 (5th Cir. 1980); Plains Growers, Inc. ex rel. Florists’ Mut. Ins. Co. v. Ickes-Braun

Glasshouses, Inc., 474 F.2d 250, 254–55 (5th Cir. 1973); see also 9 Charles A. Wright, et al.

Federal Practice and Procedure § 2362 (3d ed. Aug. 2019 update). Pursuant to Federal Rule of



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Civil Procedure 41(a)(1)(B), “[u]nless the notice or stipulation states otherwise, the dismissal is

without prejudice.”

       Accordingly, IT IS ORDERED that Defendants David Cartu, Joshua Cartu, and Orlando

Union, Inc. are dismissed without prejudice, and the Clerk shall TERMINATE David Cartu,

Joshua Cartu, and Orlando Union, Inc.




       SIGNED on March ___, 2023.




                                                      ROBERT PITMAN
                                                      UNITED STATES DISTRICT JUDGE




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